               Case
OAO 245C (Rev. 12/03)   2:04-cr-00074-RCJ-GWF
                      Amended Judgment in a Criminal Case               Document 379             Filed 09/20/11(NOTE:
                                                                                                                   Page      1 Changes
                                                                                                                      Identify  of 6 with Asterisks (*))
         Sheet 1


                                           UNITED STATES DISTRICT COURT
                                                                        District of                                      Nevada
           UNITED STATES OF AMERICA                                              AMENDED JUDGMENT IN A CRIMINAL CASE
                               V.
                                                                                 Case Number:                    2:04-CR-74-PMP-LRL
            DEMARCUS BURSE, aka D-W ack                                          USM Number:                     40035-048
Date of Original Judgment: 7/28/2006                                             Charles Kelly
(Or Date of Last Amended Judgment)                                               Defendant’s Attorney

Reason for Amendment:
G Correction of Sentence on Remand (18 U.S.C. 3742(f)(1) and (2))                G Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
G Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                 G Modification of Imposed Term of Imprisonment for Extraordinary and
    P. 35(b))                                                                         Compelling Reasons (18 U.S.C. § 3582(c)(1))
G Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))            G Modification of Imposed Term of Imprisonment for Retroactive Amendment(s)
G Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                   to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                 X Direct Motion to District Court Pursuant G 28 U.S.C. § 2255 or
                                                                                   G 18 U.S.C. § 3559(c)(7)
                                                                                 G Modification of Restitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
X    pleaded guilty to count(s)       46 & 47 OF THE SECOND SUPERSEDING INDICTMENT
G    pleaded nolo contendere to count(s)
     which was accepted by the court.
G    was found guilty on count(s)
     after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                     Nature of Offense                                                             Offense Ended                    Count
18 USC 371                          Conspiracy to Retaliate Against an Informant                                 8/29/2004                    46
18 USC 1513(a)(1)(B)                Retaliation Against an Informant                                             8/29/2004                    47
18 USC 2                            Aiding and Abetting                                                          8/29/2004                    47



       The defendant is sentenced as provided in pages 2                  through 6          of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G    The defendant has been found not guilty on count(s)
G    Count(s)                                                 G is G are dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.
                                                                                 9/16/2011
                                                                                 Date of Imposition of Judgment



                                                                                 Signature of Judge
                                                                                 PHILIP M. PRO, UNITED STATES DISTRICT JUDGE
                                                                                 Name and Title of Judge
                                                                                  9/16/2011
                                                                                 Date
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                        Amended Judgment in a Criminal Case    Document 379            Filed 09/20/11           Page 2 of 6
           Sheet 2 — Imprisonment                                                                         (NOTE: Identify Changes with Asterisks (*))
                                                                                                     Judgment — Page         2     of         6
DEFENDANT:               DEMARCUS BURSE
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                                                              IMPRISONMENT

     The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term
SIXTY(60) MONTHS AS TO COUNT 46; SIXTY-THREE (63) MONTHS AS TO COUNT 47, TO RUN
CONCURRENT TO EACH OTHER, WITH CREDIT FOR TIME SERVED, AND TO RUN CONCURRENT
TO DEFENDANT'S STATE COURT SENTENCE IN CASE NUMBER 05C210571


X The court makes the following recommendations to the Bureau of Prisons:
    The defendant serve his sentence in the State of Nevada Prison System.




X The defendant is remanded to the custody of the United States Marshal.

G The defendant shall surrender to the United States Marshal for this district:
    G      at                                   G     a.m.     G     p.m.      on                                        .

    G      as notified by the United States Marshal.

G   The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

    G      by 12:00 Noon                                                .
    G      as notified by the United States Marshal.

    G      as notified by the Probation or Pretrial Services Office.



                                                                 RETURN
I have executed this judgment as follows:




    Defendant delivered on                                                            to

a                                                     with a certified copy of this judgment.




                                                                                                   UNITED STATES MARSHAL


                                                                        By
                                                                                                DEPUTY UNITED STATES MARSHAL
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             Sheet 3 — Supervised Release                                                                  (NOTE: Identify Changes with Asterisks (*))
                                                                                                        Judgment—Page        3      of         6
DEFENDANT:                  DEMARCUS BURSE
CASE NUMBER:                2:04-CR-74-PMP-LRL
                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of
               THREE (3) YEARS


         The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The Defendant shall refrain from any unlawful use of a controlled
substance and shall submit to one drug test within 15 days of the commencement of supervision and at least two periodic drug tests
thereafter, not to exceed 104 drug tests annually. Revocation is mandatory for refusal to comply.

G      The above drug testing condition is suspended, based on the court’s determination that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)

X      The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

X      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

G      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
       student, as directed by the probation officer. (Check, if applicable.)

G      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                       STANDARD CONDITIONS OF SUPERVISION
  1)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)    the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of
        each month;
  3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)    the defendant shall support his or her dependents and meet other family responsibilities;
  5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
        acceptable reasons;
  6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
  7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
        controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
  8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
        a felony, unless granted permission to do so by the probation officer;
10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
        any contraband observed in plain view of the probation officer;
11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
        permission of the court; and
13)     as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
        record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
        defendant’s compliance with such notification requirement.
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          Sheet 3C — Supervised Release                                                   (NOTE: Identify Changes with Asterisks (*))
                                                                                        Judgment—Page       4      of         6
DEFENDANT:               DEMARCUS BURSE
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                                     SPECIAL CONDITIONS OF SUPERVISION

1. You shall not possess, have under your control, or have access to any firearm, explosive device, or other dangerous
weapons, as defined by federal, state, or local law.
2. You shall submit to the search of your person, property, residence, or automobile under your control by the probation
officer, or any other authorized person under the immediate and personal supervision of the probation office without a
search warrant to ensure compliance with all conditions of release.
3. You shall participate in and successfully complete a substance abuse treatment program, which will include drug
testing, outpatient counseling, or residential placement, as approved and directed by the probation officer.
4. You shall participate in and successfully complete a mental health treatment program, which may include testing,
evaluation, medication management, outpatient counseling or residential placement, as approved and directed by the
probation officer.
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AO 245C    (Rev. 12/03) Amended Judgment in a Criminal Case
           Sheet 5 — Criminal Monetary Penalties                                                         (NOTE: Identify Changes with Asterisks (*))
                                                                                                   Judgment — Page 5          of           6
DEFENDANT:                       DEMARCUS BURSE
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                                           CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                     Assessment                                       Fine                               Restitution
TOTALS           $   200.00                                      $                                     $ 18, 210.23



G   The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will be
    entered after such determination.

G   The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.

    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the United States is paid.

Name of Payee                              Total Loss*                           Restitution Ordered                  Priority or Percentage




TOTALS                             $                                         $


G    Restitution amount ordered pursuant to plea agreement $

G    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

G    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     G the interest requirement is waived for          G fine        G restitution.
     G the interest requirement for the        G     fine     G restitution is modified as follows:


* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April 23, 1996.
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AO 245C     (Rev. 12/03) Amended Judgment in a Criminal Case
            Sheet 6 — Schedule of Payments                                                                (NOTE: Identify Changes with Asterisks (*))
                                                                                                       Judgment — Page     6        of         6
DEFENDANT:                 DEMARCUS BURSE
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                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    X    Lump sum payment of $         200.00                 due immediately, balance due

          G    not later than                                      , or
          G    in accordance with     G C,       G D,          G   E, or    G F below; or
B    G    Payment to begin immediately (may be combined with               G C,      G D, or    G F below); or
C    G    Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                      (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    G    Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    G    Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or

F    X    Special instructions regarding the payment of criminal monetary penalties:
          THE RESTITUTION AM OUNT PAYABLE JOINTLY AND SEVERALLY W ITH CO-DEFENDANTS AT THE
          RATE OF ONE-THIRD OF DEFENDANT'S PRISON EARNINGS AND THEREAFTER AT THE RATE OF 10% OF
          DEFENDANT'S GROSS EARNINGS.




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




G    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




G    The defendant shall pay the cost of prosecution.

G    The defendant shall pay the following court cost(s):

G    The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
